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lN THE UN|TED STATES D|STR|CT COURT FOR
THE WESTERN D|STR|CT OF OKLAHOl\/lA
lN RE SANDR|DGE ENERGY, |NC. ) No. ClV-12-1341-W
SECUR|T|ES L|TlGAT|ON )
Relating to All Securities Actions
ORDER

This matter comes before the Court on the lVlotion to Dismiss Corrected
Consolidated Amended Complaint filed by defendants SandRidge Mississippian Trust |
("Miss Trust |") and SandRidge l\/lississippian Trust ll ("|Vliss Trust ll")(co||ectively "Trusts")
pursuant to Ru|es 12(b)(6) and 9(b), F.R.Civ.P. Lead plaintiffs Laborers Pension Trust
Fund for Northern Nevada ("Laborers"), Construction Laborers Pension Trust of Greater
St. Louis ("Construction Laborers") and V|adimir and Angelica Galkin (col|ectiver
"Ga|kins")(co|lectively "Lead Plaintiffs") and plaintiffs Judith Greenberg, Charles Blackburn
and Ted Odel| (col|ectively"Trust Plaintiffs") have responded in opposition, and lVliss Trusts
l and ll have filed a rep|y. Based upon the allegations in the corrected consolidated
amended complaint ("Amended Complaint"), the Court makes its determination.

James G|itz and Roger Thornberry on December 5, 2012, and Louis Carbone on
January 4, 2013, filed lawsuits "on§beha|f)of‘a"l|‘purchasers of the securities of SandRidge
Energy, lnc. (“SandRidge") between February 24, 2011, and November 8, 2012," _(Lt;`_v_
SandRidge Energy, |nc., No. ClV~12-1341-W, Doc. 1 at 2, 11 2 ("B"); Carbone v.
SandRidge Enerclv. |nc., No. ClV-1 3-19-W, Doc. 1 at 2, ‘|] 2 ("Carbone"), for alleged
violations of federal securities laws arising out of the dissemination of allegedly false and
misleading statements concerning SandRidge's business and operational status and

financial projections Named as defendants in those lawsuits were SandRidge and three

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individuals: Tom L. Ward, then SandRidge Chairman and Chief Executive Officer,
Nlatthew K. Grubb, then SandRidge President and Chief Operating Oflicer, and James D.
Bennett, then SandRidge Senior Vice President and Chief Financial Offlcer.

Pursuant to the Private Securities Litigation Reform Act of 1995 ("PSLRA"), 15
U.S.C. § 78u-4, which provides in pertinent part that no

later than 20 days after the date on which the [first] complaint is filed, the
plaintiff or plaintiffs shall cause to be published, in a widely circulated
national business-oriented publication or wire service, a notice advising
members of the purported plaintiff class . . . of the pendency of the action,
the claims asserted therein, and the purported class period . . . [,]

15 U.S.C. § 78u-4(a)(3)(A)(i)(|), notice of the Glitz action was published on December 5,
2012, in Business Wire, lnc. ("Business V\hre"), a national business-oriented wire service.

w Glitz, Doc. 29-3; Carbone, Doc. 16-3. The Notice
announced that a class action ha[d] been commenced . . . on behalf of all
persons or entities who purchased the securities of SandRidge[, referred to
by its New York Stock Exchange symbol, SD,] . . . between February 24,
2011 and November 8, 2012 . . . ,

Glitz, Doc. 29-3 at 1, which the Notice defined as the "Class Period." §
The Notice further advised that the lawsuit

charge[d] SandRidge and certain of its ofhcers and directors with violations
of the Securities Exchange Act of 1934[,]

M., because SandRidge and these ochers and directors had

issued materially false and misleading statements regarding . .

[SandRidge's] operational status and financial projections . . . [by]
misrepresent[ing] and/or fail[ing] to disclose . . . (a) that they had been
overstating the value of SandRidge's l\/lississippian formation assets1

 

1The Mississippian P|ay is described in the Amended Complaint as "a geological formation
that extends hundreds of miles across northern Oklahoma and south-central Kansas." Doc. 75 at
26, 1| 74. |t is alleged that the l\/lississippian formation "ranges from a few hundred feet to as much

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throughout the C|ass Period as contrary to their repeated mantra that
SandRidge had successfully transformed itself from a primarily natural gas
to a primarily oil producing company, when in reality its |V|ississippian
formation assets consisted of significantly higher low-margin natural gas
deposits and significantly lo_Wer high'-'mar’gin oil deposits than the market had
previously been led to believe; (b)? [that] mechanical issues with one of three
rigs . . . [SandRidge] needed to drill in its new Gulf of lVlexico assets acquired
in the Dynamic Offshore Resources LLC acquisition in early 2012 rendered
that rig inoperable during the second quarter of 2012, requiring that
[SandRidge] . . . ramp down drilling in the Gulf of Mexico; (c) that contrary to
their C|ass Period statements, defendants intended that the $1.3 billion
Dynamic Offshore acquisition be utilized as a "financing vehic|e" for . . .
[SandRidge's] onshore drilling projects; and (d) that as a resu|t, defendants
knew SandRidge's fiscal year 2012 earnings guidance was not attainable.

g at 1-2.

Thereafter, G|itz and Carbone came before the Court on various motions and, by
agreement, the Court, on lVlarch 6, 2013, consolidated the two matters for all pretrial
proceedings and for tria|. The Court found inter alia that the cases

involve[d] claims on behalf of purchasers of SandRidge securities for alleged

violations of the Securities Exchange Act of 1934 ("Exchange Act") 15

U. S. C. §§ 78j, 78t, and Securities and Exchange Commission ("SEC") Ru|e

10b-5 and. [were] grounded on the same factual and legal issues:

whether the plaintiffs purchased SandRidge securities at artificially inflated

prices as a result of [SandRidge, Ward, Grubb and Bennett‘s] . . . allegedly

false and misleading statements and whether the[ir] . . . conduct violated

sections 10(b) and 20(a), gg_., 15 U.S.C. § 78j(b); g § 78t(a), and SEC Rule

10b-5.

G_litz ,.Doc 60 at 3 n. 4 (citing__G|itz,Doc.1;_C____arbone,Doc. 1).
On thatsame date, the Court, pursuant to the PSLRA, appointed as l'Lead Plaintiffs"

in the consolidated action Laborers, Construction Laborers and the Galkins. §g_, G|itz,

 

as 1000 feet thick, and is composed of layers of |imestone, chert and limey mudstones that were
deposited in a shallow sea during the Nlississippian geological period over 300 million years ago.
Oil has been produced from the fo,rmation since the 1940's from conventional vertical wel|s.
Beginning in 2007 horizontal well and hydraulic fracturing technology has been applied to extract
oil from reservoirs within the. .formation. " I_d.

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Doc. 60 at 4. ln doing so, the Court followed the procedure set forth in the PSLRA, which
provides that no
|aterthan 90 days after the date on which a notice is published . . . , the court
shall . . . appoint as lead plaintiff the member or members of the purported
plaintiff class that the court determines to be most capable of adequately
representing the interests of class members . . . .
|_d- § 78u-4(a)(3)(B)(i).

ln making its determination",l the,:§;o`tii:'r't wa_sstatutorily mandated to

adopt a presumption that the most adequate plaintiff . . . [was] the person or
group of persons that-

(aa) ha[d] either filed the complaint or made a motion in
response to [the] . . . notice . . . ;

(bb) . . . ha[d] the largest financial interest in the relief sought
by the class; and

(cc) othenivise satisfie[d] the requirements of Rule 23 of the
Federa| Rules of Civil Procedure.

M. § 78u-4(a)(3)(B)(iii)(|). IV|indfu| that this presumption Could

be rebutted . . . upon proof by a member of the purported plaintiff class that
the presumptively most adequate plaintiff

. . . w[ould] not fairlyan.d ad§gypt§;ly protect the interests ofth
class , _ , [,] ¢. _ _

g § 78u-4(a)(3)(B)(iii)(ll)(aa), the Court determined that the presumption had not been
rebutted in this instance and that Laborers, Construction Laborers and the Galkins satisfied
all statutory and Rule 23 requirements: they not only had filed a timely request for
appointment as lead plaintiff and had shown that they had the largest financial interest in

the relief sought by the defined class, M, G|itz, Doc. 29-4; Carbone, Doc. 16-4, but also

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had claims that were typical of those of the proposed class and would fairly and adequately
protect the interests of that class.

On July 30, 2013, Laborersl Construction Laborers and the Galkins as Lead
Plaintiffs filed the Amended Complaint. §§ Doc. 75. The amended pleading named
additional plaintiffs-Greenberg, Blackburn and Ode||, as well as additional defendants
|nc|uded in the latter group2 were the movants, lVliss Trust| and Miss Trust ll.

The Trust Plaintiffs have alleged in the Amended Complaint that "[w]hen natural gas
prices began to drop in 2008, [SandRidge] . . . made a shift in strategy to transform itself
from being primarily low-margin natural gas producing to a high margin oil producing
company," § at 30, ‘|] 86, and that "[i]n' connection With its transformation strategy,

beginning in early 2011, SandRidge represented that it Would 'monetize' certain of its

 

2F\’enamed as defendants in the Amended Complaint were (a) Ward as SandRidge Chief
Executive Officer and Chairman of SandRidge's Board of Directors ("Board") and as President,
Chief Executive thcer and Chairman of the Boards of Directors for Miss Trust | ("Miss Trust l
Boar ") and Miss Trust ll ("Nliss Trust ll Board"), (b) Bennett as SandRidge Senior Vice President
and Chief Financial Ocher and as Executive Vice President and Chief Financial Officer of lV|iss
Trust ll, and Grubb as Sandridge President and Chief Operating Officer.

Also named as defendants were

(a) Randall D. Cooley as SandRidge Senior Accounting Officer and Senior Vice President,
Divisional, and as Senior Vice President of Accounting of lVliss Trust l and l\/Iiss Trust ||;

(b) D. Dwight Scott as a Miss Trust l Board member;

(c) Jim J. Brewer, Jr., and Jeffrey S. Serota as Miss Trust ll Board members;

(d) Everett R. Dobson, Wi|liam A. Gil|iland, Danie| W. Jordan and Roy T. Oliver as Miss
Trust | and Miss Trust ll Board members;

(e) lVlorgan Stanley & Co. lncorporated:("l\/lorgan Stanley), a global financial services tirm,
and Raymond James & Associates, lync. ('Tl§aymond_James"), operating as an investment bank,
which had acted as co-lead undenivriters and served as representatives for the Miss Trust l and
Miss Trust ll Offerings and helped draft and disseminate prospectuses for the same; and

(f) Citigroup Global Markets, |nc. ("Citigroup"), a brokerage firm and the securities arm of
Citigroup |nc., Merrill Lynch, Pierce, Fenner & Smith incorporated ("lVlerril| Lynch"), a global
financial services tirm, and RBC Capital l\/larkets. LLC ("RBC Capita|"), a brokerage firm and the
securities arm of RBC Capital l\/larkets, which had acted as co-lead underwriters and served as
representatives for the Miss Trust ll Offering and helped draft and disseminate the prospectus for
this offering

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assets in order to create cash-flow to fund [its] . . . ongoing lease acquisitions and drilling
activities in its core assets in the Mid-Continent ['(a/k/a "Nlississippian formation" or
"iviississippian [P]iay"),' ig. 3129-'30,‘1185§~]"énd'ti1ePermian Basin." g at32-33,1192. The
Trust Plaintiffs have contended that these efforts included the creation of two "royaltytrusts
to fund [the] . . . ongoing drilling operations." id at 33, 1i 92.

Miss Trust l is described in the Amended Complaint as "a Delaware statutory trust
formed in December 2010 to own overriding royalty interests to be conveyed to th[at]
[T]rust by SandRidge in 37 horizontal Wells producing from the lVlississippian formation in
Oklahoma and royalty interests in 123 horizontal development wells to be drilled in th[at]
. . . formation." Doc. 75 at 17, 1141;3_e_._q_., Doc. 130-1 at 6.

As the record establishes, on January 5, 2011, lVliss Trust l and SandRidge, as co-
registrants, filed a registration statement with the SEC. _Sg_e Doc. 132-1. The prospectus
with respect to the Miss Trust l Offeringwhich together with certain SEC filings and other
papers, formed the Miss Trust l Registration Statement, became effective on April 7, 201 1,

and 15,000,000 common units representing beneficial interests in the trust were sold at

 

3As stated in the prospectus, Miss Trust l

will own term and perpetual royalty interests in oil and natural gas properties leased
by SandRidge in the lVlississippian formation in Alfa|fa, Garfield, Grant, l\/lajor and
Wood counties in Oklahoma. These royalty interests will entitle the trust to receive
(a) 90% of the proceeds attributable to SandRidge's net revenue interest in the sale
of production from 37 horizontal producing wells and (b) 50% of the proceeds
attributable to SandRidge's net revenue interest in the sale of production from 123
horizontal development wells to be drilled on drilling locations within an Area of
lVlutual interest consisting of approximately 64,200 gross acres (42,900 net acres)
held by SandRidge. The number of wells required to be drilled may increase or
decrease in proportion to SandRidge's'actual net revenue interest in each well.

Doc. 130-1 at 2.

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$21.00 per unit. An over-allotment option Was also granted to certain undenivriters4 to
purchase up to an additional 2,250,000 common units. On April 12, 2011, this option was
exercised, and in accordance with its Registration Statement and prospectus, Miss Trust
| completed its initial public offering of 17,250,000 common units. w Doc. 75 at 50, 11
133. The Trust Plaintiffs have asserted that the net proceeds from this offering totaled
$339,900,000.00. §e_e_@. _ l v

Miss Trust ll is described in the Amended Complaint as "a Delaware statutory trust
formed in December 2011 to own overriding royalty interests to be conveyed to th[at]
[T]rust by . . . SandRidge in 67 producing horizontal wells in the lVlississippian formation
in Oklahoma and Kansas, and overriding royalty interests in 206 horizontal development
wells to be drilled in th[at] . . . formation." l_d. at 17, 11 42;5 AQM Doc. 130-2 at 8.

On January 5, 2012, Miss Trust ll and SandRidge, as co-registrants, filed a

registration statement with the SEC for the Miss Trust l| Offering. The prospectus with

 

"Miss Trust l underwriters, which helped draft and disseminate the prospectus, included not
only Raymond James and Morgan Stanley, § n.2 sugra, but also Wells Fargo Securities LLC,
RBC Capital lVlarkets, LLC, Oppenheimer & Co. lnc. ("Oppenheimer"), Madison V\hlliams & Co.
LLC, Morgan Keenan & Co., |nc., Robert W.""Bair‘d & Co. lnc. and Wunderlich Securities, lnc.
("Wunderlich"). §e_e_ Doc. 75 at 19,1149; D"oc'.`1l30-1 at 117. The Trust Plaintiffs have contended
that these entities "Were paid over $23.5 million in connection With the Miss Trust l Offering . . . ."

Doc. 75 at 19, 11 50 (emphasis deleted).
5As stated in its prospectus, Miss Trust ll

will own overriding royalty interests in certain of SandRidge's properties in the
lVlississippian formation in northern Oklahoma and southern Kansas, These royalty
interests will entitle the Trust to receive, after deduction of certain costs, (a) 80% of
the proceeds attributable to SandRidge's net revenue interest in the sale of
production from 67 producing wells and (b) 70% of the proceeds attributable to
SandRidge's net revenue interest in the sale of production from 206 development
Wells to be drilled within an area of mutual interest consisting of approximately
81 ,200 gross acres (53,00 net acres) held by SandRidge.

Doc. 130-2 at 2.

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respect to the Miss Trust ll Offering, Which together with certain SEC filings and other
papers, formed the l\/|iss Trust ll Registration Statement, became effective on April 18,
2012, and 26,000,000 common units representing beneficial interests in |\/liss Trust ll Were
sold at $21.00 per unit. An over-allotment option was again granted to certain
undenivriters6 to purchase up to an additional 3,900,000 common units, and on April 17,
2012, the underwriters exercised this option. S_ee_ Doc. 75 at 34, 11 100. ln accordance
with the prospectus, Miss Trust ll completed its initial public offering of 29,900,000
common units. S_ee i_d. at 50, 11 133. According to the Trust Plaintiffs, the net proceeds
totaled $587,100,000.00. §Yig.

Greenberg had acquired common units of the Miss Trust l and Blackburn and Odell
had acquired common units of the lVliss Trust ll, that they claimed, respectively, were
"pursuant or traceable to the l\/liss Trust l Offering[,]" ig. at 14, 11 23l or "pursuant or
traceable to the lVliss Trust ll Offering . . . M. 11 24; e.g., g at 15, 11 25.

The Trusts are named in three causes of action in the Amended Complaint, Counts
l, lll and lV. Relief is sought in Count l under Section 10(b) of the Exchange Act and SEC
Rule 10-5 and the Trusts are charged therein with disseminating and/or approving
materially false and misleading statements

ln Counts lll and lV of the Amended Complaint, relief is sought under Sections 11

and 12(a)(2) Of the Securities Act of 1933 ("Securities Act"), 15 U.S.C. §§ 77k, 77l(a)(2),

 

6Nliss Trust ll underwriters that helped draft and disseminate the prospectus included
Raymond James, lVlerrill Lynch, Citigroup, RBC Capital and l\/lorgan Stanley, § n.2 supra, as well
as UBS Securities LLC, Oppenheimer, Wunderlich, Sanders lVlorris Harris |nc., and Johnson Rice
& Company L.L.C. §_e_e_ Doc. 75 at 19l 1149; Doc. 130-2 at 144. The Trust Plaintiffs have alleged
that these entities "were paid over $37.6 million in connection with the Miss Trust ll Offering." Doc.
at 19, 11 50 (emphasis deleted).

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respectively, based upon the Trust Plaintiffs'7 contention that the Trusts are "liable for the
materially inaccurate statements . . . in the Registration Statements and [for] the failure of
the[se] . . . Statements to be com`plete'an'd\."a`ccurate." Doc. 75 at 160,11 394.

ln addition to challenging the plausibility of the allegations advanced in support of
Counts l, ll| and lV under Rule 12(b)(6)l sup@, the Trusts, by adoption of certain co-
defendants' motions,8 have argued that these counts should be dismissed because there
was no suggestion in the Notice published on December 5, 2012, § Doc. 29-3, that any
lawsuit had been commenced on behalf of purchasers of common units issued by Miss
Trust l and Miss Trust ll, the New York Stock Exchange symbols for which are SDT and
SDR, respectively, or that any claims were being asserted in _GIL With respect to the Miss
Trust l and the Miss Trust ll Offerings. The Trusts, by adopting their co-defendants'
motions, have contended that because no "plaintiff" has ever published notice of a putative
class action on behalf of investo\r's.:;i`n l\/liss"i'rust l:or` Miss Trust ll, dismissal of Counts l, lll
and |V is warranted for failure to comply with the notice requirement of the PSLRA.

Resolution of this issue requires comparison of the allegations in the complaint filed
in Bg and the statements in the Notice advising of that lawsuit and the allegations in the
Amended Complaint. § Kaplan v. S.A.C. Capital Advisorsl L.P., 947 F. Supp.2d 366,
367 (S.D.N.Y. 2013)(quoting Waldman v. Wachovia Corp., 2009 WL 2950362 *1 (S.D.N.Y.

2009)("Although courts typically disfavor republication when a complaint is amended,

 

7Despite the use of the collective term "plaintiffs" in the Amended Complaint, neither
Laborers, Construction Laborers nor the Galkins purchased common units issued by lVliss Trust
l or Nliss Trust ll.

8§§§ Doc. 131 at 46-47.
9|n his complaint, Carbone repeated the allegations set forth in G|itz.

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courts have required new notice where the amended complaint substantially alters the
claims or class members."); ln re Thornberg l\/lortgagel lnc. Securities Litigationl 629 F.
Supp.2d 1233, 1242 (D.N.l\/l. 2009)(where new claims are closely related to initial claims
expressly covered in the notice, requiring further notice for the amendments would serve
only to delay case).

Accordingly, the Court has reviewed the allegations in the Amended Complaint
asserted by the Trust Plaintiffs on behalf of Miss Trust l and Miss Trust ll investors and the
complaint filed in B, Which purported to assert claims solely on behalf of a putative class
of purchasers of SandRidge common stock, to determine whether the Trusts are entitled
to the relief they have requested

ln Count l of the Amended Complaint, the Trust Plaintiffs have alleged

(1) that during the relevant period, the Trusts,10 which are sued as primary
participants in the wrongful and illegal conduct, disseminated or approved certain materially
false and misleading statements in the Registration Statements regarding production in the
Nlississippian formation, see Doc. 75 at 76-79, 1111 190-193, which the Trusts knew or
deliberately disregarded were misleading;:j"; ‘ `

(2) that the Trusts, "individual|y and in concert [with other defendants], directly and
indirectly, by the use, means or instrumentalities of interstate commerce and/or of the
mails, engaged and participated in a continuous course of conduct to conceal adverse
material information about the business, operations and future prospects of . . .

[SandRidge] and the . . . Trusts[,]" g at 153, 11 369;

 

10The Trust Plaintiffs have used the term "defendants" in this count without attributing
particular conduct to any one defendant The Court has substituted the term "Trusts."

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(3) that the Trusts "(a) employed devices, schemes, and artifices to defraud; (b)
made untrue statements of material fact and/ or omitted to state material facts necessary
to make the statements not misleading; and (c) engaged in acts, practices, and a course
of business which operated as a fraud and deceit upon the purchasers of . . . SandRidge
securities during the [relevant] . . . [p]eriod in an effort to maintain artificially high market
prices for the[se] . . . securities[,]" g 11 370;

(4) that the Trusts "had actual knowledge of the misrepresentations and omissions
of material facts set forth [in the Amended Complaint] . . . , or acted with reckless disregard
for the truth in that they failed to ascertainand to disclose such facts, even though such
facts were available to them[,]" g at 154, 11 372;

(5) that the Trusts' "material misrepresentations and/or omissions were done
knowingly or recklessly and for the purpose and effect of concealing from the investing
public the significant problems with SandRidge's cash flows, capital expenditures, the
overstated reserves, and the extent of. . . related party transactions, and supporting the
artificially inflated price of SandRidge securities[,] ig. at 154-55, 11 372;

(6) that "[a]s demonstrated by [the Trusts'] . . . misstatements of . . . [SandRidge's]
and the . . . Trusts' business, operationsl oil and gas reserves, and transactions during the
C|ass Period, . . . [the Trusts], if they did not have actual knowledge of the
misrepresentations and omissions ' ailfeged,`;were reckless in failing to obtain such
knowledge by deliberately refraining from taking those steps necessary to discoverwhether

those statements were false or misleading[,]" g at 155, 11 372;

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(7) that "[a]s a result of the dissemination of the materially false and misleading
information and failure to disclose material facts, . . . the market prices of SandRidge's
securities were artificially inflated during the C|ass Period[,]" ig. 11 373;

(8) that "[i]n ignorance of the fact that market prices of SandRidge's publicly traded
securities were artificially inflated, and relying directly or indirectly on the false and
misleading statements made by [the Trusts] . . . , or upon the integrity of the market in
which the securities trade, and/or on the absence of material adverse information that was
known to or recklessly disregardedlby . . . [the Trusts,] but not disclosed in public
statements . . . , [the Trust] Plaintiffs . . . acquired SandRidge securities . . . at artiicially
high prices and were damaged as a result[,]" M.;

(9) that the Trust Plaintiffs "were ignorant of the[ ] falsity [of the misrepresentations
and of the omissions], and . . . [h]ad [they] . . .,known the truth . . . [they] would not have
purchased or othenivise acquiredtheir-zS"a"ndRidge securities, orl if they had purchased
such securities . . . , they would not have done so at the artificially inflated prices which
they paid." lg. at 155-56, 11 374.

ln Counts l|l and lV of the Amended Complaint, the Trust Plaintiffs have sought
relief, as stated, under Section 11 and 12(a) of the Securities Act, respectively, on the
grounds that the Registration Statements for the Miss Trust l and Miss Trust ll Offerings
not only contained untrue statements of material fact, but also omitted material information
ln particular, the Trust Plaintiffs have alleged in Count lll

(1) that the Registration Statements for these Offerings "were inaccurate and

misleading, contained untrue statements of material facts, omitted facts necessary to make

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the statements made therein not misleading, and omitted to state material facts required
to be stated therein[,]" Doc. 75 at 159-60, 11 393;

(2) that the "Trusts were co-registrants for the Trust Offerings[, and] [a]s issuers of
the trust units, . . . the . . . Trusts are strictly liable for the materially inaccurate statements
contained in the Registration Statements and the failure of the Registration Statements to
be complete and accurate[,]" M. at 160,.11 394;

(3) that the Trust Plaintiffs "acquired units in the . . . Trust l Offering and the . . .
Trust ll Offering, . . . rel[ying] on[ ] the Registration Statements and Without knowledge of
the [alleged] untruths and/or omissions . . . g at 161, 11 398; and

(4) that the Trust Plaintiffs "sustained damages when the price of the . . . Trust l and
the . . . Trust || securities declined substantially subsequent to and due to [the Trusts'
misconduct] . . . ." M.

|n Count |V, Wherein relief is sought under Section 12(a)(2) of the Securities Act, the
Trust Plaintiffs have alleged

(1) that the Trusts issued,~ caused"to:be issued and/or signed the Registration
Statements, which contained prospectuses that were used to induce investors to purchase
common units of lVliss Trust l and Miss Trust ll;

(2) that these Registration Statements contained untrue statements of material fact,
omitted to state other facts necessary to make the statements made not misleading, and
omitted material facts required to be stated therein;

(3) that the Trusts, acting through their employees, agents and others, solicited

investors' purchases for the Trusts' benefit;

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(4) that they (Greenberg, Blackburn and Odell) did not know and could not have
known of the untruths or omissions contained in the Registration Statements; and

(5) that the Trusts, although obligated to make a reasonable and diligent
investigation of the statements contained in the Registration Statements to ensure that
such statements were true and that there Was no omission of material fact required to be
stated in order to make the statements contained therein not misleading, failed to make
a reasonable investigation or possessed no reasonable grounds for the belief that the
statements contained in the Registration Statements were accurate and complete in all
material respects

ln support of her particular claims for reliefl Greenberg has alleged in the Amended
Complaint

(1) that the Miss Trust l Registration Statement's report with regard to SandRidge's
"understanding" of the lVlississippian formation and the "consistency" of that region11 were
materially false and misleading When made because they failed to disclose certain adverse
facts about SandRidge's understanding of the geological-makeup of the Mississippian
formation: name|y, that "the geology of the Mississippian is highly variable and there was
very limited horizontal Well production history from Which reliable reserve forecasts could
be made," Doc. 75 at 65, 11 162(a), and that "[t]here was a risk that areas Where SandRidge
was drilling horizontal wells may have had partially depleted reservoirs as a result of the

vertical wells drilled in the Mississippian since the 1940s[,]" g 11 162(b);

 

“w Doc. 75 at 76, 11 190.
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(2) that contrary to the representations in the Miss Trust l Registration Statement,
"there was no 'continuity' or 'consistency' across the [areas of mutual interest ('AM|'),]" ig.
at 77, 11 191, because "the formation geology and‘individual well productivity across the
AlVll was highly variable[,] . . . [and] there Was limited production history from Mississippian
horizontal wells such that [estimated ultimate recovery per well ('EUR')] projections were
not firmly established[,]" M.;

(3) that the Registration Statement emphasized that the reserves associated with
Miss Trust l's underlying properties12 consisted of 48-49% oil and provided certain other
reserve information,13 and that such statements were materially false "because the liquid
fraction for typical Mississippian Wells at that time was only 40% oil and 60% gas as
opposed to the 48% oil and 52% gas that [SandRidge] . . . represented[,]" g at 79, 11 193;
and

(4) that the Miss Trust l Registration Statement was materially false and misleading

because it failed to account for the involvement of the Ward-related entities14 in the

 

12The Miss Trust l Registration Statement identified the "Underlying Properties" as

consist[ing] of the working interest owned by SandRidge in the Mississippian
formation in Alfa|fa, Garfield, Grant, lVlajor and Woods counties in Oklahoma arising
under leases and farmout agreements related to properties from which the [proved
developed producing] Royalty interest and the [probable undeveloped] Royalty
interest will be conveyed. The Under|ying Properties consist of approximately
64,200 gross acres (42,900 net acres).

l_d. 11 190.

13@ i_d_. at 77, 11 192.

14The Amended Complaint alleges that "[d]efendant Ward is affiliated with several entities
that operate in the same business and location as SandRidge," g at 35, 11 104, and that "some of
these entities are direct competitors of SandRidge." g identified as "Ward-related entities" are
WCT Resources, L.L.C., 192 lnvestments, L.L.C., and TLW Land & Cattle, L.P. w g

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Mississippian formation15 and for the amount of natural gas relative to oil in that
formation,16

As to Blackburn and Odell's claims in the Amended Complaint with regard to Miss
Trust ll, these Trust Plaintiffs have alleged

(1) that the Trusts knew or recklessly disregarded the fact that the Miss Trust ll

t

Registration Statement's description of S'andl§idge's "understanding"17 ofthe Mississippian

 

15Greenberg has contended that the Trusts knew or recklessly disregarded that the
Ward-related entities (a) had "acquired huge amounts of land and mineral rights in the
lVlississippian play ('in advance of or alongside of SandRidge's holdings', g at 62, 11 158(a),) that
benefitted from SandRidge's spending and development activities in the area[,]" Q., (b) had
"inappropriately moved ahead of . . . [SandRidge] to acquire mineral rights from third-parties, and
then flipped th[ose] . . . [rights] to SandRidge . . . ," g at 62-63, 11 158(b), and (c) had "stood to gain
financially even if production in the Mississippian [formation] was lower than represented by
SandRidge or if SandRidge's Mississippian wells did not generate attractive rates of return to
SandRidge." g at 63, 11 158(0); gg., g at 35-36, 11 104.

16ln particularl Greenberg has alleged the Trusts knew or recklessly disregarded the
following facts about the amount of gas relative to oil:

(a) The lVlississippian was much gassier than represented . . . . Production data
that SandRidge reported to the Oklahoma Tax Commission showed that SandRidge
understated the gas to oil ratio for its typical horizontal well in its Mississippian play
and that the oil production relative to gas,production as reported was approximately
half of that represented . . . ;' ln addition, the oil to gas ratio was contrary to . . .
representations that SandRidge héd`compl"etedits transformation from a gas to an
oil company. With the large price premium commanded by the market for oil versus
natural gas, SandRidge's overstatement of the oil percentage misrepresents and
greatly overstates the value of their wells in the Nlississippian play; and

(b) Contrary to [the] . . . statements during 2011 that [the] . . . lVlississippian wells
on average produced 52% oil and 48% gas, production data reported by SandRidge
reveals that its wells produced less than 40% oil and more than 60% gas during
2011[.]

g at 63-64, 11 160(a)-(b).
17As alleged in the Amended Complaint, that "understanding" is as follows:
The Under|ying Properties are located in northern Oklahoma and southern Kansas
in the Mississippian formationl which is an expansive carbonate hydrocarbon

system located on the Anadarko Shelf. The top of the formation is encountered

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region was materially false and misleading because it failed to disclose certain alleged
adverse facts about SandRidge's "understanding of the geology of the lVlississippian
[formation]," Doc. 75 at 106, 11 270,18 and the involvement of the Ward-related entities in
that region;

(2) that contrary to the -l\;/li`ss 'l""ru:stlll"Registration Statement, "there was no
'continuity' or 'consistency' across the AlVll," g at 106-07, 11 270;

(3) that instead, "the formation geology and individual well productivity across the
AlVl| was highly variable," E. at 107, 11 270, and "there was limited production history from

Mississippian horizontal Wells such that EUR projections were not firmly established[,]" §.;

 

between 4,000 feet and 7,000 feet and lies stratigraphically between the
Pennsylvanian-aged l\/lorrow formation and the Devonian-aged Woodford Shale
formation, The Nlississippian formation can reach 1,000 feet in gross thickness and
the targeted porosity zone is between 50 and 100 feet in thickness The formation’s
geology is well understood as a result of the thousands of vertical wells drilled and
produced there since the 1940s, including approximately 73 vertical wells drilled on
the Under|ying Properties, and over 400 horizontal Wells drilled' in the region in the
Mississippian formation. »~

M. at 1061 11 269.

18The alleged "adverse facts" about which the Trusts knew or which they recklessly
disregarded include the following:

(a) the geology of the Mississippian is highly variable and there was very
limited horizontal well production history from which reliable reserve forecasts could
be made. Contrary to [the Trusts'] . . . statements, there was not a single type curve
across their entire leasehold extending for hundreds of miles. indeedl after the
C|ass Period, SandRidge provided multiple type well curves based on geographical
region instead of relying on just a single type well decline curve as [SandRidge] . .
. had done during the C|ass Period; and

(b) [t]here was a risk that areas where SandRidge was drilling horizontal
wells may have had partially depleted reservoirs as a result of the vertical wells
drilled in the Mississippian since the 1940s.

g at65,1i 162.
"'17 1

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(4) that the Registration Statement, and, in particular, the "Summary" and
"Calcu|ation of Target Distributionsl"\siecti.,:o_.ns: of the Miss Trust ll Prospectus were
materially false and misleading to the extent they, respectively, "stressed that the proved
reserves in the properties associated with the Miss Trust ll consisted of 46.8% oil and
53.2% natural gas," ig. 11 271, and "show[ed] the estimated % of oil volumes ranging from
47% in the first quarter of 2012 to 51% projected for the fourth quarter of 2012 for the
assets associated with the lVliss Trust ll[,]" i_d_. 11 272, because they failed to disclose
"adverse facts about . . . the amount of natural gas relative to oil[,]"19 M. at 108, 11 273, and
"the steep drop in production experienced by SandRidge horizontal lVlississippian wells[,]"20
M.; and

(5) that "the statements that '[t]he proved reserves consist of 46.8% oil and 53.2%
natural gas' and '[t]he probable reserves'co"n`eis;t of 46.9% oil and 53.1% natural gas' were
materially false and misleading when made because the liquid fraction for typical
lVlississippian wells at that time was only 35% oil and 65% gas[.]" M. at 109, 11 273.

in the L complaint, which was the subject of the Notice issued in Business V\hre,
G|itz and Thornberry contended, inter alia, as their allegations relate to the Trusts,

(1) that SandRidge and the three individual defendants, Ward, Grubb and Bennett,
had "maintained that SandRidge had successfully transformed itself from being a primarily
low-margin natural gas producing [company] to a primarily high-margin oil producing

company[,]" G|itz, Doc. 1 at 3, 114;

 

1 t ,.:j ._;-.Ji.:~'.;§': ,
‘g_Sg Doc. 75 at 63-64, 11 160.

NE § at 64-65, 11 161.
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(2) that based on this "bullish mantra concerning [SandRidge's] . . . successful
conversion[,]" § 11 40l SandRidge's "stock traded at inflated prices . . . ,“ id and allowed
SandRidge "to significantly monetize [its] . . . Mississippian formation assets, . . . by [inter
alia] . . . [r]aising $928.7 million by transferring certain Mississippian formation assets to
two trusts and selling common units_'in_’those two trusts in two undenivritten public
offerings[,]" g at 3-4, 11 5;

(3) that "on lVlarch 29, 2011l [SandRidge and the three individual] [d]efendants]
announced they intended to sell a 45% stake in [SandRidge's] . . . lVlississippian formation
assets through the initial public offering of 12.5 million common units of. . . lVliss[ ] Trust
l...,"M. at9,1124;

(4) that according to a "press release issued that day, the '[Nliss] Trust [l] [would]
own royalty interests conveyed to it by SandRidge which [Would] entitle the Trust to a
percentage of the proceeds received by SandRidge from the production of hydrocarbons
from currently producing wells and development wells to be drilled by SandRidge on
approximately 42,600 net acres in the Mississippian formation in northern Oklahoma[,]"'
g at 10, 11 24;

(5) that "[o]n April 6, 2011, [SandRidge] . . . announced the . . . lVliss[ ] Trust l lPO
had been upsized to 15 million common units priced at $21.00 per common unit[,]" g 11
26, and "closed April 12, 2011," g 11 27, "result[ing] in net proceeds to the Trust . . . of
approximately $338.7 million," M.;

(6) that a second press release "emphasiz[ed] the success of [SandRidge's] . . .
efforts to monetize the purportedly oil-rich Mississippian formation assets through the . .
. Miss[ ] Trust l lPO," id. at 11,11 28; but

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(7) that "[t]he true facts, Which were known by [SandRidge and the three individual]
. . . [d]efendants but concealed from the investing public . . . were . . . [that SandRidge,
Ward, Grubb and Bennett] had been overstating the value of SandRidge's Mississippian
formation assets . . . as contrary to their repeated mantra that SandRidge had successfully
transformed itself[,] . . . [When] in reality its Mississippian formation assets consisted of
significantly higher low-margin natural gas deposits and significantly lower high-margin oil
deposits . . . , [that] [d]ue to 'problematic' 'mechanical' issues with one of three rigs . . .
[SandRidge] needed to drill in its.new Gulf of |Viexico assets acquired in . . . early 2012,
[SandRidge] . . . had been required to 'ramp down the drilling in the Gulf of |Viexico . . . ,
[that] [c]ontrary to the[ ] C|ass Period statements, [SandRidge, Ward, Grubb and Bennett]
. . . . intended that [an] . . . [o]ffshore acquisition be utilized as a 'financing vehicle' for . .
. [SandRidge's] onshore drilling projects . . . , and . . . [t]hat as a resuit, [SandRidge, Ward,
Grubb and Bennett] . . . knew SandRidge's [fiscal year] 2012 earnings guidance was not
attainab|e." M. at 29-30, 11 61 .2‘

ln response to the Trusts' request for dismissal for failure to comply with the PSLRA,
Greenberg, Blackburn and Odell have argued that the complaint filed in Ltz, as clearly
indicated in the Business V\hre Notice, was brought on behalf of "a_|l purchasers of the
securities of SandRidge[,]" §li_t;, l)oc. 1 at 2, 112 (emphasis added); Q_arbM, Doc. 1 at
2, 11 2; Doc. 29-3 at 1, and that their claims under Sections 11 and 12(a)(2) of the
Securities Act and the claims of Laborers, Construction Laborers and the Galkins under

Sections 10(b) and 20(a) of the Exchange Act and SEC Rule 10b-5 share a common

 

21These same allegations form the basis of the Notice. § Doc. 29-3 at 1-2.

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nucleus of fact: "whether . . . SandRidge securities [were purchased] at artificially inflated
prices as a result of the defendantsi allegedly-false and misleading statements[.]" Doc. 141
at 42 n.18 (quoting B, Doc. 60 at 3 n.4).

Admitted|y, as shown bythe foregoing aliegations, there are commonalities between
the complaint in Oil and the Notice and the Amended Complaint The C|ass Period first
defined in B (and repeated in the Notice) did not change. _S_Y M, Doc. 1 at 2, 11 1;
Doc. 29-3 at 1; Doc. 75 at 6, 11 1. B refers to the Trusts and the reasons they were
created. g G|itz, Doc. 1 at 3-4, 11 5.

The differences, however, overshadow these commonalities. The _C_SE complaint
and the Notice focus solely on buyers of SandRidge securities; while the Amended
Complaint repeats these claims (and the allegations giving rise to them), it includes as

potential plaintiffs investors in 'l\iliss Trust i"and'l\/liss Trust il.22 The Glitz complaint

 

"The Lead Plaintiffs and the Trust Plaintiffs have argued that "both the original and
amended complaints assert claims on behalf of the same class of SandRidge securities
purchasers." Doc. 141 at 45, n.20. That may be true, but only as to the Lead Plaintiffs. The
complaint in _Gli_tz identified the proposed class as "purchasers of SandRidge securities between
February 24, 2011 and November 8, 2012, excluding defendants." C_Blig, Doc. 1 at 32, 1168. The
Amended Complaint has defined the proposed class as

all purchasers of SandRidge securities . . . , consisting of the following:
(a) purchasers of the common stock of SandRidge . . . ;

(b) purchasers of the common units of the Miss Trust l in or
traceable to the Miss Trust l Offering . . . ;

(c) purchasers of the common units of the Miss Trust ll in or
traceable to the Miss Trust il Offering . . . .

Doc. 75 at 20, 11 54.
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identified misrepresentations and omissions in SEC filings otherthan offering documents;23
the Amended Complaint, as in pertains to the Trusts, identifies alleged misstatements and
omissions in the Trusts' offering materials

B and the Notice rely on the fact that "SandRidge's stock fell precipitously from
its November 8, 2012 closing price of $6;10 pershare to . . . $5.51 per share on November
9, 2012, or 9%." B, Doc. 1 at 5, 11 8; _<;g_., Doc. 29-3 at 2. Such statement does not,
however, reflect the price per share of the Trusts' common units,24 and neither the
allegations in the M complaint nor the statements in the Business Wire Notice would
have alerted Miss Trust l or Miss Trust ll investors of the pendency of an action involving
securities issued by either Trust.25

Because the transactions giving rise to the claims against the Trusts are grounded
on new factual and legal ailegations, U,MQMM
Fund v. Bombardier |nc., 2005 WL 1322721 (S.D.N.Y. 2005)l the Court finds that "the

[A]mended [C]omplaint . . . [has] dramatically alter[ed] the contours of the lawsuit," in re

f'.'

 

ZSB, §g;, G|itz, Doc. 1 at 6, 11 9; g at 8, 1121; g at 11, 11 28; g at 12, 1130; ii_d_. at 14, 11
34; ig. at 19, 1141; ig. at 23, 1148; jg. 1149.

24As the Amended Complaint indicates, the price per share of a common unit of Miss Trust
i fell from $18.95 on November 8, 2012, to $17.54 on November 9, 2012-a decline of 7.4%. §§
Doc. 75 at 11, 11 11. The price per share of a common unit of Miss Trust ll fell more than 8.5%
from $19.36 on November 8, 2012, to $17.70 on November 9, 2012, w i_d_.

25The Amended Complaint very clearly distinguishes between SandRidge's common
securities and the Trusts' common units. §e§, §§L Doc. 75 at 147, 11 355. And while SandRidge
and the Trusts may be, as the Lead Plaintiffs and the Trust Plaintiffs have argued, "inextricably
iinked," Doc. 141 at 43, they are "separate legal entities." g at 15. §§ Doc. 130-1 at 2 (Nliss
Trust l units "represent undivided beneficial interests in the property of the trust. They do not
represent any interest in Sandridge."); g at 13 ("trust units do not represent interests in or
obligations of SandRidge"); g at 47 (same); Doc. 130-2 at 2 (|Vliss Trust ll "represent undivided
beneficial interests in the property of the trust. They do not represent any interest in SandRidge.");
g at 18 ("trust units do not represent interests in or obligations of SandRidge"); § at 58 (same).

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Leapfrog Enterprisesl |nc. Securities Litigation, 2005 WL 5327775 *3 (N.D. Cal. 2005), and
that the Trusts are entitled to the dismissal they have requested

Such finding26 is bolstered by the Trusts' argument that Greenberg, Odell and
Blackburn are not presumptively the most effective class representatives and do not
adequately represent the interests of purchasers of common units issued by lVliss Trust i
and/or Nliss Trust ll "given their relatively inconsequential transactions," Doc. 129 at 24:
Greenberg "acquired" 800 common units of Miss Trust l on October 2, 2012, some
eighteen (18) months after the Miss Trust l rOffering, at a price per unit of $23.21 , s_e§ Doc.
75 at 168; Odell purchased 2,000 common units of Miss Trust ll on April 18, 2012, at a
price per unit of $21 .25, § g at 170; and Blackburn purchased 1,000 common units of
Miss Trust ll on lV|ay 2, 2012, at a price per unit of $23.00. § g at 171.

While "courts have required plaintiffs to republish notice When the amended
pleading affects a new class of plaintiffs asserts new legal theories or claims or is based
on new factual allegations," Vanleeuwen v. Kevuan Petrochemicals. |nc., 2013 WL
2247394 * 5 (C.D. Cal. 2013)(citations omitted), the Trusts have requested dismissal rather
than republication; likewise, neither the Lead Plaintiffs nor the Trust Plaintiffs have
suggested the latter in case the Court finds the Trusts' arguments to be meritorious

Accordingly, having found that the Trust Plaintiffs may not proceed on their claims

against the Trusts in the absence of compliance with the F’SLRA,27 the Court D|SlV|lSSES

 

26Having found the Lead Plaintiffs and the Trust Plaintiffs' failure to comply With the PSLRA
to be dispositivel the Court has not considered the Trusts' arguments regarding standing or their
challenges to the plausibility or sufficiency of the allegations advanced in support of Counts l, lil
and lV.

275_.&, Vanleeuwen *6 (permitting plaintiffs to proceed on their claims without providing
notice to members of new class of plaintiffs contrary to letter and intent of notice requirements

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without prejudice the claims asserted by Greenberg, Blackburn and Odell against the
Trusts in Counts l, ill and lV and GRANTS the Trusts' Motion to Dismiss Corrected
Consolidated Amended Complaint [Doc. 131].

ENTERED this 1 1‘“‘»- day Of l\/iay, 2015.

UN|TED STATES D|STR|CT JUDGE

 

 

provided by section 78u-4(a)(3)).
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